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                                                                Electronically Filed: October 23, 2018
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15                                 UNITED STATES BANKRUPTCY COURT

16                                           DISTRICT OF NEVADA

17    In re:                                          Case No.: 18-14683-LEB
                                                      Chapter 11
18    GUMP’S HOLDINGS, LLC,
19                                                    Jointly administered with:
                   Affect this Debtor.               No.: 18-14684-LEB (In re Gump’s Corp.)
20                                                    No.: 18-14685-LEB (In re Gump’s By Mail, Inc.)
                   Affects all Debtors.
21                                                    Current Hearing Date:    October 30, 2018
                   Affects Gump’s Corp.
                   Affects Gump’s By Mail, Inc.      Current Hearing Time:    9:30 a.m.
22

23                                                    Continued Hearing Date: November 13, 2018
                                                      Continued Hearing Time: 9:30 a.m.
24
     STIPULATION CONTINUING HEARING ON MOTION FOR PRECAUTIONARY RELIEF
25      FROM THE AUTOMATIC STAY AND OTHER RELIEF NECESSARY TO PERMIT
       PROCESSING OF CREDIT CARD TRANSACTIONS BY CUSTOMERS OF DEBTOR
26
                             GUMP’S BY MAIL. INC.
27

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 1           This Stipulation Continuing Hearing on Motion for Precautionary Relief From The Automatic

 2   Stay and Other Relief Necessary to Permit Processing of Credit Card Transactions by Customers of

 3   Debtor Gump’s By Mail. Inc. is entered into by and among Worldpay LLC (“Worldpay”), Debtors

 4   Gump’s By Mail, Inc., Gump’s Holdings LLC and Gump’s Corp. (collectively, “Debtors”), Hilco

 5   Merchant Resources LLC and Gordon Brothers Retail Partners LLC (collectively, “Agent”), the

 6   Official Committee of Unsecured Creditors (the “Committee”) and Sterling Business Credit LLC

 7   (“Sterling”) (and all of the foregoing parties, collectively, the “Parties”).

 8           1.     On or about September 24, 2018, Worldpay filed in these cases its Motion for

 9   Precautionary Relief from The Automatic Stay and Other Relief Necessary to Permit Processing of

10   Credit Card Transactions By Customers of Debtor Gump’s By Mail. Inc. [Docket No. 195] (the

11   “Motion”).

12           2.     At present, the deadline for filing of any written oppositions to the Motion is Tuesday,

13   October 23, 2018.

14           3.     Worldpay, the Debtors and the Agent are currently in the process of exchanging

15   information relevant to the Motion and discussing the possibility of a consensual resolution to the

16   Motion, which efforts, perhaps with additional input from the Committee and Sterling, will hopefully

17   result in the successful negotiation, and submission to the Court, of an agreed order resolving the

18   Motion to which all of the parties will consent.

19           4.     In order to afford the Parties additional time to negotiate towards a consensual resolution

20   of the Motion, ideally before any of the Parties is required to expend time and resources on the

21   preparation and filing of any written opposition to the Motion, Worldpay has agreed to continue the

22   hearing on its Motion, and the Court has indicated that the hearing may be conducted on Tuesday,

23   November 13, 2018 at 9:30 a.m.

24           5.     Accordingly, the Parties hereby collectively stipulate and agree that (a) the hearing on

25   Worldpay’s Motion will be continued and re-set for Tuesday, November 13, 2018 at 9:30 a.m.; (b)

26   the date by which the Debtors, the Agent, the Committee or Sterling is required to file any written

27   opposition to the Motion shall be Tuesday, November 6, 2018; and (c) the date by which Worldpay


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 1   is required to file a written reply to any opposition to the Motion shall be Thursday, November 8,

 2   2018.

 3
     DATED this 23rd day of October, 2018.             DATED this 23rd day of October, 2018.
 4

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10                                                     of Unsecured Creditors
     And by:
11   ARNALL GOLDEN GREGORY LLP                         DATED this 23rd day of October, 2018.
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                                   [Signatures continue on following page]
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     DATED this 23rd day of October, 2018.
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